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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 ERIK SALAIZ,                                    §
                                                 §
           Plaintiff,                            §
                                                 §
 v.                                              §            CIVIL ACTION NO. 23-CV-0163
                                                 §
 The PNC FINANCIAL SERVICES                      §
 GROUP, INC.                                     §
                                                 §
           Defendants.                           §

                   JOINT FEDERAL RULE OF CIVIL PROCEDURE 26 REPORT

         Plaintiff Erik Salaiz (“Plaintiff”) and Defendant PNC Financial Services (“PNC”) jointly

file this Supplemental Report pursuant to this Court’s Order (Doc. 11), and would respectfully

show as follows:


      1. Has any Party made a demand for a jury trial?

         Plaintiff’s Response: Plaintiff has not made a demand for a jury trial.

         Defendant PNC’s Response: PNC has not made a demand for a jury trial.

      2. Do the Parties consent to have a United States magistrate judge conduct any and all

         further proceedings in this case?

         Plaintiff’s Response: Plaintiff does not consent to a Magistrate Judge.

         Defendant’s Response: PNC does not consent to a Magistrate Judge.




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                                       Respectfully submitted,
 By: /s/ Erik Salaiz                       AND
 ERIK SALAIZ
 Pro se Plaintiff
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                                CERTIFICATE OF SERVICE

       I certify that on this 22nd day of June 2023, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system which will send notice of electronic filing to the
following counsel of record:

                               Via email: salaiz.ep@gmail.com
                                          Erik Salaiz
                                     319 Valley Fair Way
                                    El Paso, Texas 79907
                                       (915) 490 0898


                                             /s/ Jessie Manzewitsch
                                             Jessie Manzewitsch




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